836 F.2d 1343Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Steve WOOL, Plaintiff-Appellant,v.Alan Horwitz, Irwin Weiss, Beats Z. Fefel, RigglemanReporting Service, John Austin, C. Macnair Speed, Lord &amp;Whip, Government Employees Insurance Company &amp; Affiliates,Attorney Grievance Commission, State of Maryland,Defendants- Appellees.
    No. 87-3762.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 25, 1987.Decided Jan. 7, 1988.
    
      Steve Wool, appellant pro se.
      Before DONALD RUSSELL, JAMES PHILLIPS, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order dismissing plaintiff's complaint for lack of jurisdiction is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Wool v. Horowitz, C/A No. 87-709 (D.Md.  Sept. 16, 1987).
    
    
      2
      AFFIRMED.
    
    